Case 2:05-cr-20183-SHI\/| Document 22 Filed 07/07/05 Page 1 of 2 Page|D 23

IN THE UNITED sTATEs DISTRICT COURT F““ED E"`i M
FoR THE WESTERN DISTRICT oF TENNESSEE 05 JU
WESTERN DIVISION L ~7 AH 7= 2b

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UNITED STATES OF AMERICA E‘H~lv‘§§§i n -*.-’t.’ii§HC§Um

  
 

V. 05-20183-Ma

FREDERICK GWYNN

 

ORDER ON ARRAIGNMENT
SUPERSEDING INDICTMENT

This cause came to be heard on ,é¢, é/ ZJV§ , the United States Attorney

for this district appeared on behalf of the #vermn;¢ht, and the defendant appeared in person and with
counsel:

NAME /%r ('¢ Q:¢'M Who is Retainedeppointed.
- y ___________

The defendant, through counsel, waived formal arraignment and entered a plea of not guilty.

 

All motions shall be filed Within thirty (3 0) days from the date hereof unless, for good cause
shown to a District Judge, such period is extended

T defendant, who is not in cust y, may stand on his pres t bond.
The defendant, (not havin de bond) (being :;W:er) (being a federal prisoner)
(being held without bond pursuant to BRA of 1984), is r anded to the custody of the U.S. Marshal.

<§'r/z'm,, dan

UNITED STATES MAGISTRATE IUDGE

CHA,RGES: 18:922(g);

U. S. Attorney assigned to Case: E. Gilluly

Age: 52

Tnis document entered on the docket sheet Ir/i compliance
with Ftule §§ an<;|for 32(b) FRCrP on “

 

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This notice confirms a copy of the document docketed as number 22 in
case 2:05-CR-20183 Was distributed by faX, mail, or direct printing on
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E. Greg Gilluly

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Honorable Samuel Mays
US DISTRICT COURT

